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 8                                     UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11     UNITED STATES OF AMERICA,                       No. 1:12-cr-00035-DAD-BAM
12                        Plaintiff,
13             v.                                      ORDER GRANTING DEFENDANT’S
                                                       MOTION FOR COMPASSIONATE
14     BONNIE LYNNE RECINOS,                           RELEASE UNDER 18 U.S.C. § 3582
15                        Defendant.                   (Doc. No. 121)
16

17            Pending before the court is defendant Bonnie Lynne Recinos’s motion for a reduction of

18    her sentence pursuant to 18 U.S.C. § 3582(c)(1)(A). The motion is based upon the risks to

19    defendant posed by the ongoing coronavirus (“COVID-19”) outbreak. (Doc. No. 121.) For the

20    reasons explained below, defendant’s motion will be granted.

21                                            BACKGROUND

22            On April 10, 2017, following her plea of guilty to conspiracy to commit mail fraud and

23    wire fraud in violation of 18 U.S.C. § 1349, the court sentenced defendant Recinos to the custody

24    of the U.S. Bureau of Prisons (“BOP”) for a 55-month term of imprisonment, to be followed by a

25    36-month term of supervised release. (Doc. Nos. 48, 108, 109.) The court also imposed the

26    mandatory $100 special assessment and ordered defendant to make restitution to the victims of

27    her fraudulent criminal conduct in the amount of $1,507,882.03. (Id.) Defendant is currently

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 1    serving her sentence at Federal Medical Center Carswell (“FMC Carswell”) in Fort Worth, Texas.

 2    (See Doc. Nos. 121 at 1; 130 at 3, 5.)

 3            According to the government, defendant began serving her sentence of imprisonment on

 4    September 6, 2017 and “has served approximately 32 months (59.1%) of the full sentence that

 5    was imposed.” (Doc. No. 130 at 3.) According to defendant, she has served approximately 34

 6    months of her sentence. (Doc. No. 121 at 3.) Both parties agree, however, that defendant’s

 7    current anticipated release date under her original sentence is December 16, 2020, “taking into

 8    account [defendant’s] qualifications for other BOP release programs.” (Doc. No. 130 at 3; see

 9    also Doc. No. 121 at 3.).

10            On May 21, 2020, defendant filed the pending motion for compassionate release pursuant

11    to 18 U.S.C. § 3582(c)(1)(A). (Doc. No. 121.) On June 4, 2020, the government filed its

12    opposition to the motion, and on June 11, 2020, defendant filed her reply thereto. (Doc. Nos.

13    130, 131.)

14                                             LEGAL STANDARD

15            A court generally “may not modify a term of imprisonment once it has been imposed.”

16    18 U.S.C. § 3582(c); see also Dillon v. United States, 560 U.S. 817, 824 (2010) (“‘[A] judgment

17    of conviction that includes [a sentence of imprisonment] constitutes a final judgment’ and may

18    not be modified by a district court except in limited circumstances.”). Those limited

19    circumstances include compassionate release in extraordinary cases. See United States v. Holden,

20    __ F. Supp. 3d __, 2020 WL 1673440, at *2 (D. Or. April 6, 2020). Prior to the enactment of the
21    First Step Act of 2018 (“the FSA”), motions for compassionate release could only be filed by the

22    BOP. 18 U.S.C. § 3582(c)(1)(A) (2002). Under the FSA, however, imprisoned defendants may

23    now bring their own motions for compassionate release in the district court. 18 U.S.C.

24    § 3582(c)(1)(A) (2018). In this regard, the FSA specifically provides that a court may

25                   upon motion of the defendant after the defendant has fully exhausted
                     all administrative rights to appeal a failure of the [BOP] to bring a
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 1                   motion on the defendant’s behalf1 or the lapse of 30 days from the
                     receipt of such a request by the warden of the defendant’s facility,
 2                   whichever is earlier, may reduce the term of imprisonment (and may
                     impose a term of probation or supervised release with or without
 3                   conditions that does not exceed the unserved portion of the original
                     term of imprisonment), after considering the factors set forth in [18
 4                   U.S.C. §] 3553(a) to the extent that they are applicable, if it finds
                     that –
 5
                     (i)    extraordinary and compelling reasons warrant such a
 6                          reduction; or

 7                   (ii)   the defendant is at least 70 years of age, has served at least 30
                            years in prison, pursuant to a sentence imposed under section
 8                          3559(c), for the offense or offenses for which the defendant
                            is currently imprisoned, and a determination has been made
 9                          by the Director of the Bureau of Prisons that the defendant is
                            not a danger to the safety of any other person or the
10                          community, as provided under section 3142(g);

11                   and that such a reduction is consistent with applicable policy
                     statements issued by the Sentencing Commission [.]
12

13    18 U.S.C. § 3582(c)(1)(A)(i) and (ii).2

14    1
        If the BOP denies a defendant’s request within 30 days of receipt of such a request, the
15    defendant must appeal that denial to the BOP’s “Regional Director within 20 calendar days of the
      date the Warden signed the response.” 28 C.F.R. § 542.15(a). If the regional director denies a
16    defendant’s administrative appeal, the defendant must appeal again to the BOP’s “General
      Counsel within 30 calendar days of the date the Regional Director signed.” Id. “Appeal to the
17    General Counsel is the final administrative appeal.” Id. When the final administrative appeal is
      resolved, a defendant has “fully exhausted all administrative rights.” See 18 U.S.C.
18
      § 3582(c)(1)(A).
19
      2
        Under 18 U.S.C. § 3624(c)(2), the BOP may release an incarcerated defendant to home
20    confinement “for the shorter of 10 percent of the term of imprisonment of that prisoner or 6
      months.” The Coronavirus Aid, Relief, and Economic Security Act (“the CARES Act”), Pub. L.
21    116-136, expands the BOP’s authority to release incarcerated defendants without judicial
22    intervention. The CARES Act allows the BOP to “lengthen the maximum amount of time” for
      which a prisoner may be placed in home confinement under § 3624(c)(2) “as the Director
23    determines appropriate,” assuming “the Attorney General finds that emergency conditions will
      materially affect the functioning” of the BOP. CARES Act, Pub. L. 116-136, Div. B, Title II,
24    § 12003(b)(2) (2020). However, the BOP’s authority in this regard is limited to “the covered
      emergency period.” Id. The BOP’s authority expires “30 days after the date on which the
25    national emergency declaration terminates.” Id. § 12003(a)(2). After the CARES Act was
26    enacted, the Attorney General issued a memo instructing the BOP to “immediately review all
      inmates who have COVID-19 risk factors” beginning with those who are housed at facilities
27    where “COVID-19 is materially affecting operations.” Office of Att’y Gen., Increasing Use of
      Home Confinement at Institutions Most Affected by COVID-19 (Apr. 3, 2020). The BOP has
28    acted on the Attorney General’s guidance, including one case in which a sentenced prisoner was
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 1           The applicable policy statement with respect to compassionate release in the U.S.

 2    Sentencing Guidelines sets out criteria and circumstances describing “extraordinary and

 3    compelling reasons.” U.S. Sentencing Guidelines Manual (“U.S.S.G.”) § 1B1.133; see also

 4    United States v. Gonzalez, No. 2:18-cr-00232-TOR, 2020 WL 1536155, at *2 (E.D. Wash. Mar.

 5    31, 2020) (noting that courts “universally” rely on U.S.S.G. § 1B1.13 to define “extraordinary

 6    and compelling reasons,” even though that policy statement was issued before Congress passed

 7    the FSA and authorized defendants to file compassionate release motions). However, a large and

 8    growing number of district courts across the country have concluded that because the Sentencing

 9    Commission has not amended the Guidelines since the enactment of the FSA, courts are not

10    limited by the pre-FSA categories described in U.S.S.G. § 1B1.13 in assessing whether

11    extraordinary and compelling circumstances are presented justifying a reduction of sentence

12    under 18 U.S.C. § 3582(c). See, e.g., United States v. Parker, __ F. Supp.3d __, 2020 WL

13    2572525, at *8–9 (C.D. Cal. May 21, 2020) (collecting cases); United States v. Rodriguez, 424 F.

14    Supp. 3d 674, 681 (N.D. Cal. 2019).

15           In the past, when moving for relief under 18 U.S.C. § 3582(c), it was recognized that the

16    defendant bore the initial burden of demonstrating that a sentence reduction was warranted. See

17    United States v. Sprague, 135 F.3d 1301, 1306–07 (9th Cir. 1998). Although the Ninth Circuit

18    has not specifically addressed the question of which party bears the burden in the context of a

19    motion for compassionate brought pursuant to § 3582(c) as amended by the FSA, district courts

20    that have done so have agreed that the burden remains with the defendant. See, e.g., United
21

22    released to home confinement after serving less than half his sentence from a facility that reported
      no positive COVID-19 cases at the time of his release. See Hannah Albarazi, Paul Manafort
23    Seeks Prison Release Over COVID-19 Fears, LAW360 (Apr. 14, 2020), https://www.law360.
      com/articles/1263706/paul-manafort-seeks-prison-release-over-covid-19-fears (noting that the
24    prisoner’s counsel had argued that the CARES Act “broadens the authority” of the BOP to release
      prisoners to home confinement); Khorri Atkinson, Paul Manafort Released From Prison Amid
25    COVID-19 Fears, LAW360 (May 13, 2020), https://www.law360.com/articles/1273090/paul-
26    manafort-released-from-prison-amid-covid-19-fears.
      3
27      The Sentencing Guidelines also require that to be granted a reduction of sentence under 18
      U.S.C. § 3582(c)(1)(A), the defendant must not pose “a danger to the safety of any other person
28    or to the community, as provided in 18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(2).
                                                       4
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 1    States v. Greenhut, No. 2:18-cr-00048-CAS, 2020 WL 509385, *1 (C.D. Cal. Jan. 31, 2020);

 2    United States v. Van Sickle, No. 18-cr-0250-JLR, 2020 WL 2219496, *3 (W.D. Wash. May 7,

 3    2020).

 4                                                  ANALYSIS

 5             As district courts have summarized, in analyzing whether a defendant is entitled to

 6    compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i), the court must determine whether a

 7    defendant has satisfied three requirements:

 8                    First, as a threshold matter, the statute requires defendants to exhaust
                      administrative remedies. 18 U.S.C. § 3582(c)(1)(A). Second, a
 9                    district court may grant compassionate release only if “extraordinary
                      and compelling reasons warrant such a reduction” and “that such
10                    reduction is consistent with applicable policy statements issued by
                      the Sentencing Commission. Id. Third, the district court must also
11                    consider “the factors set forth in Section 3553(a) to the extent that
                      they are applicable.” Id.
12

13    Rodriguez, 424 F. Supp. 3d at 680; see also United States v. Ramirez-Suarez, 16-CR-00124-

14    LHK-4, 2020 WL 3869181, at *2 (N.D. Cal. July 9, 2020); Parker, 2020 WL 2572525, at *4;

15    United States v. Trent, Case No. 16-cr-00178-CRB-1, 2020 WL 1812242, at *2 (N.D. Cal. Apr. 9,

16    2020) (noting that as to the third factor, under 18 U.S.C. § 3582(c)(1)(A) release must be

17    “consistent with” the sentencing factors set forth in §3553(a)).

18    A.       Administrative Exhaustion

19             Here, the parties do not dispute that defendant has exhausted her administrative remedies

20    prior to filing her pending § 3582 motion. (Doc. Nos. 130 at 4; 121 at 3.) Accordingly, the court
21    will turn to the merits of defendant’s motion.

22    B.       Extraordinary And Compelling Reasons

23             “Extraordinary and compelling reasons” warranting compassionate release may exist

24    based on a defendant’s medical conditions, age and other related factors, family circumstances, or

25    “other reasons.” U.S.S.G. § 1B1.13, cmt. n.1 (A)–(D). Even though the catch-all of “other

26    reasons” was included in the policy statement at a time when only BOP could bring a
27    compassionate release motion, courts have agreed that it may be relied upon by defendants

28    bringing their own motions under the FSA. See, e.g., United States v. Kesoyan, No. 2:15-cr-236-
                                                          5
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 1    JAM, 2020 WL 2039028, at *3–4 (E.D. Cal. Apr. 28, 2020) (collecting cases).

 2           Thus, the medical condition of a defendant may warrant compassionate release where he

 3    or she “is suffering from a terminal illness (i.e., a serious and advanced illness with an end of life

 4    trajectory),” though “[a] specific prognosis of life expectancy (i.e., a probability of death within a

 5    specific time period) is not required.” U.S.S.G. § 1B1.13, cmt. n.1 (A)(i). Non-exhaustive

 6    examples of terminal illnesses that may warrant a compassionate release “include metastatic

 7    solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease, and advanced

 8    dementia.” Id. In addition to terminal illnesses, a defendant’s debilitating physical or mental

 9    condition may warrant compassionate release, including when:

10                   The defendant is
11                   (I) suffering from a serious physical or medical condition,
12                   (II) suffering from a serious functional or cognitive impairment, or
13                   (III) experiencing deteriorating physical or mental health because of
                     the aging process,
14
                     that substantially diminishes the ability of the defendant to provide
15                   self-care within the environment of a correctional facility and from
                     which he or she is not expected to recover.
16

17    Id. at cmt. n.1 (A)(ii). Where a defendant has moderate medical issues that otherwise might not

18    be sufficient to warrant compassionate release under ordinary circumstances, some courts have

19    concluded that the risks posed by COVID-19 tips the scale in favor of release in particular

20    situations. See, e.g., United States v. Rodriguez, No. 2:03-cr-00271-AB, 2020 WL 1627331 at
21    *10–11 (E.D. Pa. Apr. 1, 2020) (“Without the COVID-19 pandemic—an undeniably

22    extraordinary event—Mr. Rodriguez’s health problems, proximity to his release date, and

23    rehabilitation would not present extraordinary and compelling reasons to reduce his sentence.

24    But taken together, they warrant reducing his sentence.”).

25           Compassionate release may also be warranted based on a defendant’s age and other

26    related factors. In these situations, “extraordinary and compelling reasons” exist where a
27    “defendant (i) is at least 65 years old; (ii) is experiencing a serious deterioration in physical or

28    mental health because of the aging process; and (iii) has served at least 10 years or 75 percent of
                                                          6
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 1    his or her term of imprisonment, whichever is less.” U.S.S.G. § 1B1.13, cmt. n.1(B). In

 2    determining a defendant’s projected release date, courts may take into account any “good time

 3    credits” awarded to the defendant by BOP for “exemplary” behavior in prison as set forth in 18

 4    U.S.C. § 3624(b)(1). See, e.g., United States v. Burrill, No. 17-cr-00491-RS, 2020 WL 1846788,

 5    at *1 n.1 (N.D. Cal. Apr. 10, 2020).

 6           Here, defendant Recinos argues that extraordinary and compelling reasons warranting her

 7    compassionate release exist because of: 1) her age (59 years old); 2) her serious health problems;

 8    3) and the conditions at FMC Carswell related to the COVID 19 pandemic. Defendant asserts

 9    that she “suffers from multiple sclerosis (“MS”), hypertension (high blood pressure), and

10    asthma,” for which she takes medications daily, including an immunosuppressant drug to treat her

11    MS, and inhalers for her asthma. (Doc. No. 121 at 7, 8 – sealed.) Defendant contends that she is

12    “at a higher risk of contracting COVID-19 and developing severe complications and/or dying

13    from the disease,” and because MS is incurable, she also “suffers a medical condition from which

14    she ‘is not expected to recover.’” (Id. at 9.) In addition, defendant argues that “the conditions

15    reported at FMC Carswell, where a 30-year old inmate has already died from COVID-19, make it

16    impossible for [her] to adequately care for and protect herself despite her vulnerable condition.”

17    (Id.) Thus, defendant argues that she falls within the scope of the “medical condition scenario” in

18    the Sentencing Commission’s policy statement, U.S.S.G. § 1B1.13, cmt. n.1 (A)(ii). (Id. at 9–

19    10.)

20           The government counters that defendant’s medical conditions are not recognized by the
21    Centers for Disease Control as high-risk factors for becoming severely ill from COVID-19. (Doc.

22    No. 130 at 3–4.) In particular, the government contends that it is not clear from defendant’s

23    medical records that her asthma, which is recognized by the CDC as a high-risk factor, is severe

24    or even moderate. (Id. at 9–10.) The government also argues that MS and general hypertension

25    are not listed by the CDC as high-risk factors. (Id. at 9–10.) However, on June 25, 2020—after

26    the government filed its response—the CDC updated its list of risk factors, and hypertension is
27    now so listed. See People Who Are at Higher Risk for Severe Illness, Centers for Disease Control

28    and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/ people-at-
                                                        7
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 1    higher-risk.html (last reviewed July 16, 2020). Nevertheless, the government argues that having

 2    these health conditions alone is not sufficient to warrant compassionate release.

 3           In reply, defendant argues that her medical conditions are an extraordinary and compelling

 4    reason warranting a reduction of her sentence because she faces “a much higher risk of suffering

 5    severe illness or death from COVID-19” due to her comorbidity, her asthma (regardless of the

 6    degree), and her incarceration. (Doc. No. 131 at 2–6.) Defendant contends that whether or not

 7    her medical conditions are listed by the CDC as high risk factors is not consequential because the

 8    CDC’s “guidelines are everchanging,” and that the government fails to “acknowledge that much

 9    of what we know is consistently changing. COVID-19 transmission, and those factors that puts

10    one at risk is a constantly moving target.” (Id. at 2.) Defendant also contends that the

11    government has understated the substantial risks posed by her incarceration at FMC Carswell in

12    particular and that “it is very possible” that the inmate who died at FMC Carswell contracted

13    COVID-19 while at that prison. (Id. at 6–7.)

14           In light of recent developments at FMC Carswell, the court finds this to be a close case as

15    to whether defendant has satisfied her burden of showing that “extraordinary and compelling

16    reasons” warrant compassionate release. Hypertension and asthma, both of which defendant

17    suffers from, are high risk factors in connection with COVID-19 and there is no doubt that

18    defendant’s multiple sclerosis condition is long-standing and serious. Moreover, there has been

19    one death of a prisoner at FMC Carswell related to COVID-19, although that prisoner had

20    recently been transferred to that prison from a local jail and was immediately quarantined. (Doc.
21    Nos. 130 at 5; 130-1 at 10.) Most importantly from the court’s point of view, when the

22    government filed its response to defendant’s motion, there were no confirmed active COVID-19

23    cases among any prisoners or staff members at FMC Carswell. (See Doc. No. 130 at 5.)

24    However, as of July 16, 2020, the BOP now reports that 177 prisoners and 3 staff members at that

25    prison are now confirmed as active COVID-19 cases. See https://www.bop.gov/coronavirus/ (last

26    reviewed July 16, 2020). Thus, it appears that the in a mere month and a half, the active COVID-
27    19 virus cases at FCM Carswell went from 0 to 180. This development has convinced the court

28    that the defendant’s medical conditions and the fact that some of those conditions place her at
                                                        8
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 1    higher risk of becoming seriously ill if infected by COVID-19, when considered in combination

 2    with the outbreak of the virus at her institution of confinement, constitute extraordinary and

 3    compelling reasons warranting a reduction of her sentence.

 4    C.     Consistency With the § 3553(a) Factors

 5            Finally, any relief to be granted pursuant to 18 U.S.C. § 3582(c)(1)(A) must be consistent

 6    with the sentencing factors set forth in §3553(a). 4 Trent, 2020 WL 1812242, at *2; see also

 7    Parker, 2020 WL 2572525, at *11.

 8           As noted above, defendant Recinos is currently serving a 55-month sentence on her

 9    conviction for conspiracy to commit mail fraud and wire fraud in violation of 18 U.S.C. § 1349.

10    The offense, in which she played an aggravating role, was an extremely serious one. Defendant’s

11    innocent victims lost over $1.5 million dollars due to her fraud. Indeed, the government contends

12    because defendant “was a leader in an elaborate $1.5 million fraud scheme” that operated for

13    three years (Doc. No. 130 at 11–12) (citing U.S.S.G. § 1B1.13(2)), she is a danger to the

14    community and is not entitled to compassionate release.

15           At sentencing, defendant was found responsible for a loss amount in excess of $1.5

16    million and less than $3.5 million and to have been an organizer or leader in the fraudulent

17    investment conspiracy, resulting in an offense level of 26 under the Sentencing Guidelines

18    (“U.S.S.G.”). (Doc. No. 103 at 8.) Given the defendant’s complete lack of criminal history of

19    any kind she was a Category I criminal history, resulting in an advisory sentencing guideline

20    range calling for a term of imprisonment between 63 and 78 months. (Id. at 17.) Pursuant to the
21
      4
22      Title 18 U.S.C. § 3553(a) provides that, in determining the sentence to be imposed, the court
      shall consider: the nature and circumstances of the offense and the history and characteristics of
23    the defendant; the need for the sentence imposed to reflect the seriousness of the offense, promote
      respect for the law, provide just punishment for the offense, afford adequate deterrence, protect
24    the public from further crimes of the defendant and provide the defendant with needed
      educational or vocational training, medical care, or other correctional treatment in the most
25    effective manner; the kinds of sentences available; the kinds of sentence and the sentencing range
26    established for the applicable category of offense committed by the applicable category of
      defendant as set forth in the guidelines; any pertinent policy statement issued by the Sentencing
27    Commission; the need to avoid unwarranted sentence disparities among defendants with similar
      records who have been found guilty of similar conduct; and the need to provide restitution to any
28    victims of the offense.
                                                          9
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 1    parties’ plea agreement, the government argued for a sentence at the low end of the guidelines, 63

 2    months. (Doc. No. 107). However, in the presentence report the probation officer recommended

 3    that the court vary downward in consideration of the § 3553(a) factors to a sentence of 48 months

 4    as providing just punishment for the offense as well as adequate deterrence, while potentially

 5    allowing for the repayment of restitution. (Id. at 16–18.) In particular the mitigating

 6    circumstances noted by the probation officer in recommending a downward variance included the

 7    defendant’s age, lack of prior arrest history or evidence of past criminal conduct, her significant

 8    and serious medical problems requiring ongoing treatment and medication monitoring, and

 9    favorable performance while under Pretrial Services supervision in this case. (Id. at 16.) The

10    probation officer also opined that “[i]f not for the ongoing nature of the offense conduct, the

11    current offense could be described as aberrant” and that “it appears unlikely [defendant] would be

12    involved in similar criminal conduct” in the future. (Id.) The undersigned ultimately did vary

13    downward in light of its consideration of the § 3553(a) factors, but only to a sentence of 55

14    months imprisonment. (Doc Nos. 108, 109.)

15           In light of the presentence report’s thoughtful analysis and recommendation, it cannot be

16    said that the granting of a sentence reduction in this case would be inconsistent with the factors

17    set out in § 3553(a). The fact that the undersigned originally imposed a sentence with a slightly

18    less significant downward variance at the time of the original sentencing does not impact that

19    conclusion. Moreover, “‘[t]he length of the sentence remaining is an additional factor to consider

20    in any compassionate release analysis,’ with a longer remaining sentence weighing against
21    granting any such motion.” United States v. Shayota, No. 1:15-cr-00264-LHK-1, 2020 WL

22    2733993 at *6 (N.D. Cal. May 26, 2020) (quoting United States v. Connell, __ F. Supp. 3d __,

23    2020 WL 2315858, at *6 (N.D. Cal. May 8, 2020)). Here, although defendant has served

24    approximately 60% of her originally imposed sentence, the parties agree that she qualifies for

25    other BOP release programs and is scheduled for release in just under 5 months from today.

26    Given her complete lack of criminal history and the other factors cited therein, there is also little
27    reason to question the presentence report’s conclusion that defendant is unlikely to reoffend and

28    that her release would not pose a danger to the community. Finally, no unwarranted sentencing
                                                         10
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 1    disparity would result from a reduction in defendant’s sentence since her co-defendant, who was

 2    less culpable than defendant in this criminal conspiracy, was sentenced to the custody of the BOP

 3    for a six month term of imprisonment. See United States v. Jamil, No. 1:15-cr-00264-LHK-4,

 4    2020 WL 2614877 at *4 (N.D. Cal. May 21, 2020).

 5                                             CONCLUSION

 6            For the foregoing reasons, defendant’s motion (Doc. No. 121) is granted. The sentence

 7    previously imposed of a 55-month term of imprisonment is reduced5 to a sentence of 48-month

 8    term of imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A) and for the reasons explained above.

 9    All terms and conditions of the previously imposed 36-month term of supervised release remain

10    in full force and effect.

11    IT IS SO ORDERED.
12
          Dated:     July 20, 2020
13                                                      UNITED STATES DISTRICT JUDGE

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25    5
        Available relief under § 3582(c)(1)(A) includes both compassionate release as well as “a
26    reduction in sentence.” United States v. Parker, __ F. Supp. 3d __, 2020 WL 2572525, at *1
      (C.D. Cal. May 21, 2020) (quoting United States v. Marks, __ F. Supp. 3d ___, n.3, 2020 WL
27    1908911, at *3 n.3 (W.D.N.Y. Apr. 20, 2020). Here, the court reduces defendant’s sentence in a
      manner that, if the release date previously anticipated by the parties is correct, should result in
28    defendant’s immediate release from custody.
                                                         11
